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 5                                UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE
 7
     UNITED STATES OF AMERICA,      )
 8                                  )
                 Plaintiff,         )                CASE NO.       CR 05-260
 9                                  )
           v.                       )
10                                  )
   MATTHEW ALEX ERICKSON            )                DETENTION ORDER
11                                  )
                 Defendant.         )
12 ________________________________ )
13             Offenses charged:     Count I, Conspiracy to Distribute Cocaine Base in violation of
                                     Title 21 U.S.C., Sections 841 (a) (1), 841(b)(1)(A) and 846.
14
                                     Count II, Conspiracy to Commit Kidnapping and Other Offenses,
15                                   in violation of Title 18 U.S.C., Section 371,
16                                   Count III, Kidnapping in violation of Title 18 U.S.C ., Sections
                                     1201(a)(1) and 2,
17
                                     Count IV,         Interstate Transportation in Furtherance of
18                                            Prostitution,
19                                    in violation of Title 18 U.S.C., Sections 2422(a) and 2,
                                     Count V, Interstate Travel in Aid of Racketeering, in violation of
20
                                     Title 18, U.S.C., Sections 1952(a)(2) and 2,
21                                   Count VI, Interstate Transportation of a Stolen Vehicle in violation
22                                   of Title 18, U.S.C., Sections 2312 and 2.
23
     Date of Detention Hearing: September 9, 2005.
24
               The court, having conducted an uncontested detention hearing pursuant to 18 U.S.C. §
25
     3142(f), and based upon the factual findings and statement of reasons for detention hereafter set
26


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 1 forth, finds that no condition or combination of conditions, which the defendant can meet, will
 2 reasonably assure the appearance of the defendant as required and the safety of any other person and
 3 the community.
 4           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 5             Under Title 18 § 3142 (g), the court has considered:
 6             (1)     The nature and circumstances of the offense charged, including whether the
 7                     offense is a crime of violence or involves a narcotic drug.
               (2)     The weight of the evidence against the person.
 8             (3)     The history and characteristics of the person, including-
 9                     (A) the person’s character, physical and mental condition, family ties,
                       employment, financial resources, length of residence in the community,
10
                       community ties, past conduct, history relating to drug or alcohol abuse, criminal
11                     history, and record concerning appearance at court proceedings.
12                     (B) Whether, at the time of the current offense or arrest, the person was on
                       probation, on parole, on other release pending trial, sentencing, appeal, or
13
                       completion of sentence of an offense under Federal, State, or local law.
14             (4)     The nature and seriousness of the danger to any person or the community that
15                     would be posed by the person’s release.
16
                In the instant case, the defendant stipulated to his detention. Pre-trial Services Report
17
     reflected numerous convictions and the important fact that the defendant is serving a sentence at
18
     this present. Time. Thus, there is no condition or combination of conditions that would
19
     reasonably assure future court appearances.
20
     It is therefore ORDERED:
21
                (l) Defendant shall be detained pending trial and committed to the custody of the
22
                     Attorney General for confinement in a correctional facility separate, to the extent
23
                     practicable, from persons awaiting or serving sentences, or being held in custody
24
                     pending appeal;
25
                (2) Defendant shall be afforded reasonable opportunity for private consultation with
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 1             counsel;
 2         (3) On order of a court of the United States or on request of an attorney for the
 3             Government, the person in charge of the correctional facility in which defendant is
 4             confined shall deliver the defendant to a United States Marshal for the purpose of
 5             an appearance in connection with a court proceeding; and
 6         (4) The clerk shall direct copies of this order to counsel for the United States, to
 7             counsel for the defendant, to the United States Marshal, and to the United States
 8             Pretrial Services Officer.
 9         DATED this 14th day of September, 2005.
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11
                                                         A
                                                         Monica J. Benton
12                                                       United States Magistrate Judge

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